Case 14-10979-CSS Doc 1162-1 Filed 06/26/14 Page1of3

Exhibit A

RLF1 10447780v.1
Case 14-10979-CSS Doc 1162-1 Filed 06/26/14 Page 2of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al., Case No. 14-10979 (CSS)

Debtors. ! (Jointly Administered)

Name Nee Nae ee eee ee ee ee”

Re: D.L

ORDER SCHEDULING OMNIBUS HEARING DATES

Upon the Certification of Counsel Regarding Order Scheduling Omnibus Hearing Dates,
dated June 26, 2014, and pursuant to Rule 2002-1(a) of the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware, it is hereby

ORDERED, ADJUDGED AND DECREED THAT:

1. The following dates and times have been scheduled for hearings in the above-

captioned chapter 11 cases (the “Chapter 11 Cases’):

Date & Time Location

September 16, 2014 at 11:00 a.m. U.S. Bankruptcy Court for the District of
Delaware, 824 North Market Street, gih Floor,
Courtroom 6, Wilmington, Delaware 19801

September 17, 2014 at 9:30 a.m. U.S. Bankruptcy Court for the District of
(Disclosure Statement Hearing) Delaware, 824 North Market Street, 5" Floor,
Courtroom 6, Wilmington, Delaware 19801

2. Additional omnibus hearings will occur thereafter in the Chapter 11 Cases as may

be scheduled by subsequent order of the Court.

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number
of debtors in these chapter 11 cases, which are being jointly administered on a final basis, a complete list of
the debtors and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the debtors’ claims and noticing agent at
http://www.efhcaseinfo.com.

RLF1 10447780v.1
Case 14-10979-CSS Doc 1162-1 Filed 06/26/14 Page 3of 3

3. All matters in the Chapter 11 Cases shall be set for and heard on the date scheduled
for an omnibus hearing unless alternative hearing dates are approved by the Court for good cause

shown.

Dated: June , 2014
Wilmington, Delaware

THE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

RLF1 10447780v.1
